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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORID A
                                FORT LAUDERDALE DIVISIO N


  JEWEL FINANCE NETHERLANDS B .V .,
  MANBALIQ CORP ., MANBALIQ, S .A.,
  CHASE FORBES TRUST, LTD . ,
  MURRY H . STARK, and V .I .P.
  COMMERCE, INC .,

                                                                                          Bit0ufN
         Plaintiffs,

                                                                CASE NO . :
  vs



  ROYAL BANK OF CANADA, LEROY B .
  MAJOR, BLOOMBERG, L .P., MOORE
  STEPHENS INTERNATIONAL, LTD,
  MOORE STEPHENS LOVELACE, P .A.,
  MOORE STEPHENS BUTLER &
  TAYLOR, B&T CORPORATE
  MANAGERS, LTD ., MICHAEL W .
  TAYLOR, JOHN RAYMOND MACART,
  CENTURY CAPITAL, S .A . ; JAMAR
  ENTERPRISES, INC ., SUMMIT
  ENTERPRISES, INC ., ROBERT L .
  GORMAN, CHUCK CLARK, EURO-
  SECURITIES & ASSETS, LTD .,
  LAWRENCE E . SMITH, SR .,
  LAWRENCE E . SMITH, JR., UBALDO
  CAPOZZI, ALLFINA KAPITALANLAGEN, A .G.,
  NORBERT KLEIN, ANDRE PESENTI ,
  HELMUT J . KOENIG, and I .B.I BANK A .G .
  individually, jointly and severally ,

         Defendants .


  DEFENDANT , MOORE STEPHENS LOVELACE, P.A.'S, NOTICE OF REMOVAL

         COMES NOW Defendant, MOORE STEPHENS LOVELACE, P .A. (hereinafter referre d

  to a "MSL"), by and through its undersigned counsel , pursuant to 28 U.S .C . § 1441, et seq ., and
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  28 U.S .C. § 1331, and hereby files this Notice of Removal and states as grounds :

  1.     Background.

         1 . On April 18, 2005, Plaintiffs filed their Complaint in the Circuit Court for th e

  Seventeenth Judicial Circuit in and for Broward County, Florida, against MSL, Royal Bank of

  Canada (hereinafter referred to as "RBC") ; Leroy B . Major (hereinafter referred to as "Major") ;

  Bloomberg, L.P. (hereinafter referred to as "BLP") ; Moore Stephens International, LTD .

  (hereinafter referred to as "MSI") ; Moore Stephens Butler & Taylor (hereinafter referred to as

  "MSB&T") ; B&T Corporate Managers, LTD (hereinafter referred to as "B&T") ; Michael W .

  Taylor (hereinafter referred to as "Taylor') ; John Raymond Macari (hereinafter referred to as

  "Macari") ; Century Capital, S .A. (hereinafter referred to as "Century") ; Foxmoor Holdings,

  LTD, S.A. (hereinafter referred to as "Foxmoor") ; Jamar Enterprises, Inc. (hereinafter referred to

  as "Jamar") ; Summit Enterprises, Inc . (hereinafter referred to as "Summit") ; Robert L . Gorman

  (hereinafter referred to as "Gorman") ; and Charles "Chuck" A . Clark (hereinafter referred to as

  "Clark"), including Defendant MSL, requesting a Declaration of Plaintiffs' Rights, and alleging

  Breach of Contract, Fraud, Conspiracy to Defraud, Misappropriation of Trade Secrets,

  Conspiring to Misappropriate Trade Secrets and Violation of Florida's Rico Act .

         2 . Plaintiffs' Complaint was served on MSL on May 2, 2005 .

         3 . On May 23, 2005, in response to Plaintiffs' Complaint, MSL filed the following

  with the Circuit Court for the Seventeenth Judicial Circuit : (1) Defendant Moore Stephens

  Lovelace, P.A. 's Motion for Summary Judgment on Plaintiffs' Complaint for Declaration of

  Rights, Breach of Contract, Fraud, Conspiracy to Defraud, Misappropriation of Trade Secrets,

  Conspiracy to Misappropriate Trade Secrets, and Violation of Florida's RICO Act ; (2)



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        Defendant Moore Stephens Lovelace, P.A
                                                      . 's Motion to Dismiss Plaintiffs' Complaint for

     Declaration of Rights, Breach of Contract, Fraud, Conspiracy to Defraud, Misappropriation of

        Trade Secrets, Conspiracy to Misappropriate Trade Secrets, and Violation of Florida's RICO

     Act ; (3) Defendant Moore Stephens Lovelace, P
                                                            .A . 's Motion for Attorneys 'Fees and

    Prejudgment Interest Pursuant to Florida Statute 57
                                                                 .105 as a Result of Plaintiffs 'Failure to Act

    in Good Faith when Plaintiffs filed their Complaint Unsupported by Material Facts Necessary to

    Establish Any Claim against Defendant, Moore Stephens Lovelace, P
                                                                                      .A . ; and (4) Defendant
    Moore Stephens Lovelace P .A
                                       . 's Motion to Stay Plaintiffs 'Claims Pending Arbitration .

           4 . On June 16, 2005, MSL filed its
                                               Motion for- Sanctions against Plaintiffs and
   Plaintiffs' counsel .

             5
                 . On June 21, 2005, Plaintiffs filed their Amended Complaint with the Circuit

   Court for the Seventeenth Judicial Circuit
                                                   . The Amended Complaint included twelve (12)

   Federal Civil RICO claims against MSL, twelve (12) Florida RICO Act claims against MSL,

  three (3) fraud claims against MSL, three (3) conspiracy to defraud claims against MSL, three

  (3) misappropriation of trade secrets claims against MSL, and three (3) conspiracy to

  misappropriate trade secrets claims against MSL
                                                           . Additionally, Plaintiffs added as Defendants,
  Euro-Securities & Assets, Ltd
                                     . (hereinafter referred to as "Euro-Securities"), Lawrence E
                                                                                                        . Smith,
  Sr . (hereinafter referred to as "Smith, Sr
                                                ."), Lawrence E . Smith, Jr
                                                                              . (hereinafter referred to as
 "Smith, Jr
                 ."), Ubaldo Capozzi (hereinafter referred to as "Capozzi"), Allfina Kapitalanlagen,
 A .G
        . (hereinafter referred to as "Allfina"), Norbert Klein (hereinafter referred to as "Klein"),

 Andre Presenti (hereinafter referred to as "Presenti"), Helmut J
                                                                         . Koenig (hereinafter referred t o
 as "Koenig"), and I .B.I . Bank, A .G
                                         . (hereinafter referred to as "I .B .I.").



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          6 . On June 23, 2005, Plaintiffs filed their Amended Certificate of Service with the

  Circuit Court for the Seventeenth Judicial Circuit as a result of having neglected to attached

  certain exhibits to their Amended Complaint .

          7 . Plaintiffs served their Amended Complaint on MSL on June 21, 2005 . Plaintiffs

  served their Amended Certificate of Service on MSL on June 23, 2005 . Plaintiffs served both

  their Amended Complaint and Amended Certificate of Service on MSL by mail .

          8 . To date, there have been nine (9) documents filed in this case with the Circui t

  Court for the Seventeenth Judicial Circuit in and for Broward County, Florida (a listing of all

  documents filed with the Circuit Court for the Seventeenth Judicial Circuit is attached hereto as

  Exhibit A .) These documents are attached hereto as exhibits B through J and are incorporated by

  reference pursuant to Rule 10(c), Federal Rules of Civil Procedure . No other pleadings and/or

  process have been filed in the state court action .

  if.     Federal Question Jurisdiction .

          9 . This Court has original jurisdiction of this action under the provision of 28 U .S .C .

  § 1331 . 28 U .S.C . § 1331, Federal Question, states that district courts shall have original

  jurisdiction of all civil actions arising under the Constitution, laws or treaties of the United

  States . This action is one that may be removed to this Court by MSL pursuant to the provision s

  of 28 U .S .C. § 1331 and 28 U .S .C . § 1441, in that it is a civil action based in part upon claims

  arising under the laws of the United States . This removal is timely under the provisions of 28

  U.S .C. § 1446(b) in that less than thirty (30) days have passed since MSL received Plaintiffs'

  Amended Complaint .

          10. Pursuant to Plaintiffs' allegations and specifically counts I through XII o f



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  Plaintiffs' Amended Complaint, in which Plaintiffs allege violations by MSL of the Federal

  RICO Act, 18 U .S.C. 1962(a), 18 U .S.C. 1962(b), 18 U .S .C . 1962(c), and 18 U .S.C. 1962(d),

  this Court has jurisdiction .

          11 . As twelve (12) of the thirty six (36) claims alleged in Plaintiffs' Amended

  Complaint allege federal claims against MSL, satisfying the requirements for original

  jurisdiction, this action is removable to this Court .

          12 . Additionally, the twenty-four (24) remaining claims are removable pursuant to 28

  U.S.C . § 1441(c) . Section 1441(c) states, in pertinent part, as follows :

          Whenever a separate and independent claim or cause of action within the jurisdiction
          conferred by section 1331 of this title [28] is joined with one or more otherwise non-
          removable claims or causes of action, the entire case may be removed and the district
          court may determine all issues therein, or, in its discretion, may remand all matters
          in which State law predominates .

  Title 28 U .S.C . § 1441(c) .

          13 . Therefore, the entire action is removable to this Court .

          14 . Venue is proper in the Southern District of Florida in that the Circuit Court action

  is pending within the jurisdictional confines of this District . See 28 U .S .C . 1446(a) .

          15 . Federal Practice and Procedure, Wright, Miller & Cooper, notes that a federal

  district court may consider both the complaint and the petition for removal in determining the

  propriety of removal . Indeed, the failure to consider the petition for removal would deprive

  MSL of its statutory right to remove . Section 3734 of Federal Practice and Procedure states :




                                                     5
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         Fortunately, in practice, the federal courts usually do not limit their inquiry to the
         face of plaintiff's complaint, but rather consider the facts disclosed on the record of
         the case as a whole in determining the propriety of removal . Section 1446(b) [of 28
         U .S.C.] makes it clear that this practice is correct . The passage in the second
         paragraph of that provision to the effect that a previously unremovable case may be
         removed by filing a notice of removal within thirty days of receipt of an "amended
         pleading, motion, order or other paper" from which it first appears that the case is
         removable demonstrates that any of the referred to papers may be considered in
         determining removabilty of a case, and it has been so held . And there is no reason
         to believe that Congress intended to permit the districts courts to look beyond the
         complaint in connection with the renewed removal right provided for in the second
         paragraph of Section 1446(b) but not during the initial removal period provided for
         in the final paragraph of that provision . Moreover, there would be little point in
         requiring the notice of removal to contain a "short and plain statement" of the
         grounds for removal, if the federal court could not look to that statement to inform
         itself of the propriety of removal .

  14C Wright, Miller & Cooper, Federal Practice and Procedure : Jurisdiction and Related

  Matters § 3734 .

          16 . MSL has not waived its right to removal by filing the motions listed in paragraph

  no. 2 supra . The law is well-settled in this District that "[w]aiver will not occur by defensive

  action in the state court short of proceeding to an adjudication on the merits ." Miami Herald

  Publishing Co . v . Ferre, 606 F . Supp . 122, 124 (S.D . Fla. 1984) . This Court noted that

  "although waiver of the right of removal is possible, `the defendant's intent (to waive) must be

  clear and unequivocal .[']" Id. This Court explained that "the Federal Rules of Civil Procedure

  contemplate an answer in state court before removal to federal court . Rule 81(c) provides that in

  actions removed to federal court repleading is not necessary unless the court so orders . In a

  removed action in which the defendant had not answered, he shall answer ... within 20 days ." Id.

  Additionally, it would not have been possible for MSL to have waived its right to remove this

  case to federal court as a result of filing motions addressing the original Complaint . Plaintiffs

  included their Federal RICO claims in their Amended Complaint for the first time .


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           17 . It is well established in this jurisdiction that "the joinder requirement of section

   1446 is satisfied where one defendant files a singular removal petition , if all defendants se rved

  on or before the filing of that petition thereafter timely file either their own removal petitions or

  their joinder in or consents to the original petition ." Miami Herald Publishing Co. v. Ferre, 606

  F. Supp . 122, 124 (S .D. Fla. 1984) The Amended Complaint's certificate of service reflects that

  it was served on June 21 , 2005 . The Certificate of Service was amended to read June 23, 2005 .

           18. Moreover , only those defendants who are properly served and joined are required

  to join the petition for removal . Wesley v . Mississippi Transportation Commission, 857 F .Supp .

  523 (S .D . Miss . 1994 ). MSL is aware that ce rtain Defendants have not been se rved and, thus,

  are not required to join the petition for removal .

           19. Written notice of the filing of this Notice of Removal has been se rved on the

  Plaintiffs , and a copy of this Notice will be filed with the Clerk of the Circuit Court in and for

  Broward County, Florida, pursuant to 28 U .S .C . § 1446(d) . (A true and correct copy of

  Defendant MSL's Notice of Filing Notice of Removal is attached hereto as Exhibit K . )

          WHEREFORE , Defendant MSL requests that further proceedings in the in the Circuit

  Cou rt of the Seventeenth Judicial Circuit in and for Broward County, Florida, be discontinued

  and that the action be removed to the United States District Cou rt for the Southe rn District of

  Florida . 28 U .S .C . § 1446 .




                                                        7
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        Respectfully submitted this 11'" day of July, 2005 .


                                              BERNARD H . DEMPSEY,
                                              Florida Bar No . : 107697
                                              CHRISTOPHER A . PACE
                                              Florida Bar No . : 67672 1
                                              Dempsey & Associates, P.A.
                                              Mercantile Bank Plaz a
                                              1560 Orange Avenue, Suite 200
                                              Winter Park, Florida 32789
                                              Telephone : (407) 422-5166
                                              Facsimile : (407) 422-8556
                                              Attorneys for Defendan t
                                              Moore Stephens Lovelace, P .A.




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                                   CERTIFICATE OF SERVIC E

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

  via United States mail without exhibits' this 11`" day of July, 2005, to Owen Bailey, Esquire,

  Bailey & Dawes, LC, Continental Plaza, Suite 100, 3250 Mary Street, Miami, Florida 33133,

  Nicolas Swerdloff, Esquire, Hughes, Hubbard & Reed, LLP, 201 South Biscayne Blvd ., Miami,

  Florida 33131-4332, Daniel B . Rosenthal, Esquire, Quarles & Brady, LLP, One Lincoln Place,

  1900 Glades Road, Suite 355, Boca Raton, Florida 33431, Kenneth C . Sundheim, Esquire,

  Kenneth C . Sundheim, P .A., 955 S . Federal Highway, Suite 201, Stuart, Florida 34994, Mark C .

  Green, Esquire, Fowler, White, Boggs, Banker, P .A ., 501 Kennedy Blvd ., Suite 1700, Tampa ,

  Florida 33602 .




           ' Because of the volume of the exhibits listed in Exhibit A to this Notice of Removal, the
  documents have not been attached to copies of the Notice of Removal provided to counsel listed
  in this Certificate of Service . If any party wishes to be provided all documents listed in Exhibit
  A, any party may contact Dempsey & Associates, P .A., and request a copy, which will then be
  provided to that party .

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 O.JS 44 (Rev . I1/04)                                                           CIVIL COVER SHEEP
 The IS 44 civil cover sheet and the information contained herein neidtcr replace nor supplement the filing and service ofplead n s 0r other papers am required by law . except as provided
 by local rules of court This farm, approved by the Judicial Conference of the United States in September 1974, is require d for the use of Ule Clerk ofCourt for the purpose of initiating
 the civil docket sheet . (SEE INS ituCTIONS ON THE REVEILSEE or Tf1C FORM . )

 T . (a)     PLAINTIFFS                                                                                              DEFENDANTS
 JEWEL FINANCE NETHERLANDS B -V. ; MANBA .LIQ CORP . ;                                                              ROYAL BANK OF CANADA; LEROY B . MAJOR; LOOMBERG,
 MANBALIQ, SA-; CHASE FORBES TRUST, LTD . ; MURRY H.                                                                L.P . ; MOORE STEPHENS INTERNATIONAL, LTD ; MOORE
 STARK ; and V .I .P. COMMERCE, INC .                                                                               STEPHENS LOVELACE, PA. ; (See attachment)
    (b) County of Residence of FQSt Listed Plaintiff     Brcward County, Florida                                     County of Rcsidcnec of first Listed Defendant Brow Co     , Florida
                           (EXCEPT IN U.S. P1 .AINFIFF CASE-$)                                                                            (IN U.S . PLAINTIFF CASES ONLY )
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    ((!) Auomey ' a (Firm Name. Addruo, and Teltphune Number)                                                             TRACT OF LAND INVOLVED .

 Bailey & Dawes, LC                                                                                                         Attorneys (If Known)
 Continental Plaza , Suite 100
                                                                                                                   Dempsey & Associates, P .A .                 -
 3250 Mary Street, Coconut Grove, Florida 33133                                                                    1560 Orange Avenue , Suite 200, Orlando , Florida 32789
 (305) 374-5505
                                                                                                                   (407) 422-5166

   (d) Check County Where Ac tion Arose: o DADS 0 MONItor 913ROWARD 17 PALM BEACH O MARTIN O Sf. LUCIE O INDIAN RIV M O OKEEC'F1pBEE ' HIaHLANDs

II . BASIS OF JURISDICTION                                (Place on "X" in One Box Only)              III- CITIZEN SHIP OIl PRINCIPAL. PART1XS( r(ace an One Rex for Plninti f
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Cl 2 U.S. Goveroment                       04 Diversit y                                                    Citixtt of Mother State        O2       d     2   Incorporated and Principal Place       0    5     Cl 5
       Defendant                                                                                                                                                 of Business In Another Stare
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0 190 Other Couuau                                Product Liability 0 385 Property Dawagc                  Cl    720 L :dwr/MgmL Relmion     Cl 863 D1WC/DIW W (405 (g))                12 USC 341 0
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VI. CAUSE OF ACTION
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VU. REQUESTED IN 0 CHECK IF THIS IS A CLASS AC'11O N                                                            DEMAND $                                  CI ECK YES only if demanded in complaint;
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             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF FLORID A

                CASE NO . 05cv61128 DE#1

  ❑    DUE TO POOR QUALITY, THE ATTACHED
            DOCUMENT IS NOT SCANNED



      ATTACHMENT(S) NOT SCANNE D

  ❑ VOLUMINOUS (exceeds 999 pages = 4 inches)
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  ❑ ADMINISTRATIVE RECORD ( Social Security)
  ❑ ORIGINAL BANKRUPTCY TRANSCRIP T
  ❑ STATE COURT RECORD ( Habeas Cases)
  ❑ SOUTHERN DISTRICT TRANSCRIPTS
  ❑ LEGAL SIZE
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  ❑ PHOTOGRAPH S
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